    Case 22-55367-wlh            Doc 16   Filed 07/27/22 Entered 07/27/22 13:59:38         Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

         IN RE:        CasL                               Case No.
                                                          Chapter
                                 Debtor


                  STATEMENT REGARDING PAYMENT ADVICES (11 U.S.C. §521(a)(1))


         I, the undersigned debtor, hereby certify that during the 60 day period preceding the filing
         of my bankruptcy petition in this case, I did not receive pay stubs from an employer
         because:


                I am unemployed; or                                                                             r-
                                                                                                         74-_,•
                                                                                                              •„:-) C.
                                                                                                          --k
                I am self-employed; or                                                                —'17:7•
                                                                                                           11•;fgC-•
                                                                                                                   r-
                                                                                                -1
                My employer did not provide pay stubs.

                Other                                                                             •




Dated:    CA- I 1, 5   )_b}"›-
                                                        (61-   J\--   Brb\-A.An—Volefts
                                                                           Debtor
